                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
------------------------------------------------------------------------------------------------------------

ALFONSO MORALES,

                        Plaintiff,
                                                                          Case No. 21–CV-732
        v.

CITY OF MILWAUKEE,
BOARD OF FIRE AND POLICE COMMISSIONERS,
GRISELDA ALDRETE, STEVEN DEVOUGAS, NELSON SOLER,
ANN WILSON, FRED CROUTHER, ANGELA MCKENZIE,
EVERETT COCROFT and RAYMOND ROBAKOWSKI,
Members of City of Milwaukee Fire and Police Commission,
individually and in their official capacity.

                        Defendants.

------------------------------------------------------------------------------------------------------------

                         NOTICE OF VOLUNTARY DISMISSAL

------------------------------------------------------------------------------------------------------------

         TO THE HONORABLE COURT, ALL PARTIES AND COUNSEL: this law

office represents the Plaintiff in this matter and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(i), the Plaintiff notifies the Court and parties that he

voluntarily dismisses this entire case. Such dismissal shall be without prejudice,

with each side to bear its own costs and attorney fees.
      Dated this 13th day of September, 2021.

                                          GIMBEL, REILLY, GUERIN & BROWN LLP

                                       By:
                                          /s/Jaclyn C. Kallie
                                          JACLYN C. KALLIE
                                          State Bar No. 1088902
                                          jkallie@grgblaw.com
                                          FRANKLYN M. GIMBEL
                                          State Bar No. 1008413
                                          fgimbel@grgblaw.com
                                          RAYMOND M. DALL’OSTO
                                          State Bar No. 1017569
                                          dallosto@grgblaw.com
                                          BRIANNA J. MEYER
                                          State Bar No. 1098293
                                          bmeyer@grgblaw.com
                                       Attorneys for Plaintiff Alfonso Morales

POST OFFICE ADDRESS:

330 East Kilbourn Avenue, Suite 1170
Milwaukee, Wisconsin 53202
Telephone: 414/271-1440
Fax: 414/271-7680




                                         2
                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
------------------------------------------------------------------------------------------------------------

ALFONSO MORALES,

                        Plaintiff,                                        Case No. 21–CV-732
        v.

CITY OF MILWAUKEE,
BOARD OF FIRE AND POLICE COMMISSIONERS,
GRISELDA ALDRETE, STEVEN DEVOUGAS, NELSON SOLER,
ANN WILSON, FRED CROUTHER, ANGELA MCKENZIE,
EVERETT COCROFT and RAYMOND ROBAKOWSKI,
Members of City of Milwaukee Fire and Police Commission,
individually and in their official capacity.

                         Defendants.
------------------------------------------------------------------------------------------------------------
                                  CERTIFICATE OF SERVICE
------------------------------------------------------------------------------------------------------------
        I, Jaclyn C. Kallie, an attorney with the law firm of Gimbel, Reilly, Guerin &
Brown LLP, hereby certify under penalty of perjury under the laws of the State of
Wisconsin that on the 13th day of September, 2021, I caused to be electronically
filed Plaintiff’s Notice of Voluntary Dismissal with the Clerk of the Court using
the ECF system. I further certify that I caused the above-referenced document to
be sent via U.S. Mail to the following non-ECF participant: Attorney Nathaniel
Cade.

        Dated this 13th day of September, 2021.

                                                 By:     /s/Jaclyn C. Kallie
                                                         JACLYN C. KALLIE
                                                         State Bar No. 1088902
                                                         jkallie@grgblaw.com
                                                      Attorney for Plaintiff Alfonso Morales

GIMBEL, REILLY, GUERIN & BROWN LLP
330 East Kilbourn Avenue, Suite 1170
Milwaukee, Wisconsin 53202




                                                     3
